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                                                               CERTIFICATE OF SERVICE


DEBTOR 1 NAME: LAVETTE YVONNE TROTTER                                                                       CASE NUMBER: 1842737
DEBTOR 2 NAME:
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 4/11/2022         :
Via U.S. First Class Mail, or electronic service, if such interested party is an electronic filing user,
pursuant to Local Rule 2002-1, Fed. R. Bankr. P. 2002 and other applicable law.

LAVETTE YVONNE TROTTER,1824 E 49TH,KANSAS CITY MO 64130




By Electronic Transmittal :
By Fax :

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :         4/11/2022                                 Signature : ________________________________________
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